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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

  MATTHEW KOTILA, individually and
  on behalf of all others similarly situated,
                                                    Case No. 1:22-cv-00704
          Plaintiff,
                                                    District Judge Hala Y. Jarbou
  v.
                                                    Magistrate Judge Ray S. Kent
  CHARTER FINANCIAL PUBLISHING
  NETWORK, INC.,

          Defendant.

          DEFENDANT CHARTER FINANCIAL PUBLISHING NETWORK, INC.’S
         RESPONSE BRIEF IN OPPOSITION TO PLAINTIFF MATTHEW KOTILA’S
        MOTION FOR DEFAULT JUDGMENT PURSUANT TO RULES 23(b)(3) AND
       55(b)(2) AND APPROVAL OF PLAINTIFF’S PROPOSED CLASS NOTICE PLAN



                               ORAL ARGUMENT REQUESTED
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                                QUESTIONS PRESENTED

 1.    Should the Court enter a default judgment against CFPN where entry of such judgment
       would not prejudice Plaintiff and where CFPN’s delay in responding to Plaintiff’s
       Complaint was not caused by CFPN’s culpable conduct?

       CFPN answers no.

 2.    Should the Court approve the class notice plan detailed in Plaintiffs Motion for Default
       Judgment pursuant to Rules 23(b)(3) and 55(b)(2).

       CFPN answers that notwithstanding its objections to the class definition and the class
       members’ standing, it does not object to the class notice plan, but no default judgment
       should be entered.




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                                            Introduction

        The Court should not enter a default judgment in favor of Plaintiff Matthew Kotilla

 (“Kotila”), individually and on behalf of others similarly situated (the “Class”) (collectively

 “Plaintiff”), against Defendant Charter Financial Publishing Network, Inc. (“CFPN”) in the

 amount requested in Plaintiff’s motion or any other amount. Plaintiff does not have standing to

 bring the present claim because he does not fall into the class of customers protected under the

 Michigan Preservation of Personal Privacy Act (the "PPPA"). Regardless of a defendant’s

 default, courts must evaluate plaintiff’s standing and the court’s jurisdiction before entering any

 default judgment. Plaintiff’s lack of standing here deprives this Court of jurisdiction to render a

 judgment. Default judgment is also inappropriate because CFPN has meritorious defenses; its

 failure to timely the answer was not intentional, or due to recklessness or indifference; and public

 policy disfavors judgment by default against a willing and active litigant.

        CFPN’s meritorious defenses include questions over Plaintiff’s standing, whether the

 applicable statute of limitations has been met, and whether the equitable doctrine of latches bars

 Plaintiff’s claims. Regarding Plaintiff’s standing, the PPPA affords a remedy only to

 “customers,” which is defined by the statute as “a person who purchase[d], rent[ed], or

 borrow[ed] a book or other written material” from a defendant who sold such materials “at

 retail” or leased or loaned them. Neither Kotila nor any member of the Class qualifies as a

 customer because CFPN does not sell Financial Advisor at retail or otherwise. Rather, it provides

 it for free. Thus, no member of the class paid for a subscription to, rented, or borrowed Financial

 Advisor. Simply put, Plaintiff and the class members lack standing to recover under the PPPA,

 which deprives this Court of jurisdiction to hear their claims. As further explained below, there




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 are also legitimate questions whether Plaintiff’s brought this lawsuit in a timely manner.

        On the other hand, CFPN’s failure to respond timely to the Complaint was not due to an

 intentional or reckless disregard for these proceedings, indifference, or a refusal to participate in

 this defense. Instead, CFPN’s leadership simply did not understand that a lawsuit had been filed

 against it until August 21, 2023, when it received the notice of hearing for the present motion.

 Since that time, CFPN has obtained representation, filed a motion to set aside the default, and is

 participating in its defense of Plaintiff’s claims. This class action lawsuit is still in its relatively

 early stages, as Plaintiff has not yet identified the full scope of class members or provided notice

 to the Class. Furthermore, public policy disfavors adjudication by default judgment, and Plaintiff

 would not be prejudiced by CFPN’s participation here.

        For those reasons, and others as stated below, CFPN requests that this Court deny

 Plaintiff’s Motion for Default Judgment.

                                              Background

 A.     Procedural history

        Plaintiff commenced this lawsuit on August 3, 2022, when he filed his then putative Class

 Action Complaint (ECF No. 1) (the “Complaint”) against CFPN and a proposed Summons

 (ECF No. 2), which was approved the next day (ECF No. 4). The Complaint includes a single

 claim for relief based on CFPN’s alleged violations of the privacy rights of Plaintiff and the other

 class members by selling, renting, or exchanging private reader data in contravention of the

 PPPA. M.C.L. § 445.1711 et seq., as it existed before July 2016.

        On August 21, 2022, Plaintiff filed a proof of service attesting that the Complaint and

 Summons had been delivered to CFPN’s registered agent for service of process, Cogency Global,




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 Inc., by leaving them with Theresa Gradison, an “Administrative Assistant,” on August 11, 2022

 (ECF No. 5, PageID.534). On September 28, 2022, Plaintiff submitted an application for the

 entry of a default (ECF No. 7), stating that CFPN had failed to “answer, respond to, or otherwise

 defend this action within the time specified in Federal Rule of Civil Procedure 12(b)(1)(A)”

 (PageID.539). On October 19, 2022, the Clerk of the Court entered the Default.

        On December 2, 2022, Plaintiff filed his Motion for Class Certification Pursuant to Rules

 23(a) & 23(b)(3), and for Leave to Take Discovery Pursuant to Rule 55(b)(2) (ECF 13). On June

 5, 2023, the Court entered its Opinion (ECF No. 16) and Order (ECF No. 17) granting the class

 certification motion on the condition that the Plaintiff provide a “more specific class definition”

 (PageID.652). Plaintiff attempted to address the concerns raised by the Court in the document

 titled “Plaintiff’s Response to the Court’s May 12, 2023 Opinion and Order,” and filed on May

 19, 2023. On June 5, 2023, nearly eight months after CFPN was defaulted, the Court entered an

 Order (ECF No. 17) granting class certification with its own modifications to the class definition

 specified therein (PageID.658-59). The Court also granted Plaintiff’s request to conduct

 discovery to identify the class members for the purpose of calculating damages and required

 Plaintiff to file a motion for a default judgment no later than August 16, 2023. (PageID.658-659).

        On August 16, 2023, Plaintiff filed a Motion for Default Judgment Pursuant to Rules

 23(b)(3) and 55(b)(2) and Approval of Plaintiff’s Class Notice Plan (ECF No. 27) (the “Default

 Judgment Motion”). However, to date, it does not appear that Plaintiff has determined the size

 of the Class with any certainty. In the brief supporting the Default Judgment Motion (ECF No.

 28), Kotila contended that he and each member of the Class, which allegedly includes “at least

 3,416” individuals (PageID.753), should each be awarded the maximum statutory damages of




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 $5,000 (PageID.754). Plaintiff is therefore seeking a minimum of $17,080,000 – an amount that

 would certainly put CFPN out of business.

 B.      CFPN’s business model, recent history, and knowledge of this lawsuit

         Based in Shrewsbury, New Jersey, CFPN was founded and incorporated under the laws

 of the State of Delaware in 2000. See Exhibit A, Declaration of Charles L. Stroller, at p. 1 ¶ 2.

 CFPN, which has 24 1 employees, publishes a monthly print and digital magazine titled Financial

 Advisor and maintains a website for the magazine which can be accessed at https:// fa-mag.com.

 Id. at p. 1, ¶¶ 2-3.

         CFPN does not sell Financial Advisor, but instead provides it at no cost to its roughly

 40,000 subscribers. Id. at p. 1, ¶ 3. In addition, CFPN does not send Financial Advisor to

 members of the general public but, instead, only to licensed financial brokers and advisors whose

 license status CFPN first confirms. Id. at p.2, ¶ 4. At its height, when print media was in greater

 demand, CFPN had 120,000 subscribers. Id. ¶ 6.

         Like many other businesses, CFPN’s operations were dramatically affected by the Covid-

 19 pandemic. Id. Among other things, in March 2020, CFPN shifted its operations to a

 remote/working-from-home environment, which only ended on September 6, 2023, when CFPN

 instituted a 2-day per week in-office requirement. Id. at ¶ 7. During that time, CFPN had no

 employees working in its offices. Id. at ¶ 8.

         As CFPN began to prepare for its return to in-office work, it was also moving to a smaller

 location in Shrewsbury. Id. at ¶ 9. During that process, on July 23, 2023, CFPN’s chief executive



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  Defendant’s previously file Motion to Set Aside the Default Judgment (ECF No. 29),
 referenced that CFPN employed 28 people. The updated employee count reflects a recent
 reduction in CFPN’s work force prompted by its diminishing annual revenues.


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officer and chief financial officer, Charles L. Stroller (“Stroller”), was informed that a document,

which he later learned to be a subpoena issued in this case, had been delivered to CFPN’s office.

Id. Stroller did not see the subpoena until a few weeks later when he physically returned to the

office for the first time since March 2020. Id. at ¶ 10. Upon examining it, Stroller observed that it

referred to a competitor of CFPN, ALM Global, LLC, which publishes a magazine titled

“Investment Advisor.” Id. Being unaware of the lawsuit and believing the subpoena had been

mistakenly sent to CFPN, Stroller did not appreciate that the matter required a response from

CPFN. Id. at pp. 2-3 ¶ 10.

           Stroller next heard of the lawsuit in late July or early August 2023, when Stephanie Perrin

(“Perrin”) CFPN’s Director of Finance, informed him of emails she had received from CFPN’s

registered agent, Cogency Global, Inc., forwarding a document pertaining to this case, which

Stroller believed was the same document regarding ALM Global he had earlier reviewed. Id. at p.

3, ¶ 11.

           The next time Stroller heard about this lawsuit was on August 21, 2023, when he received

an email from Perrin forwarding a copy of a document titled “Plaintiff’s Brief in Support of His

Motion for Default Judgment Pursuant to Rules 23(b)(3) and 55(b)(2) and Approval of Plaintiff’s

Proposed Class Notice Plan.” Id. ¶ 13. Stroller forwarded the documents to CFPN’s counsel in

New Jersey who could not handle the matter and suggested he advise CFPN’s insurer and

consider retaining counsel in Michigan. See id. at p. 3 ¶¶ 13-14. On September 11, 2023, after

CFPN’s insurer advised that coverage was not available, Stroller retained the undersigned

counsel to represent CFPN in this matter. Id. at p. 3, ¶ 15.

           Being unaware of the bases for this lawsuit, Stroller requested that CFPN’s Head of




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Technology, Chrisitan Eddleston (“Eddleston”), search CFPN’s subscriber database records to

confirm whether Plaintiff, or an individual with the Plaintiff’s name, had ever been a subscriber

to Financial Advisor. Id. at p. 3, ¶ 19. Eddleston’s search of CFPN’s subscriber database, which

includes data going back 7 years, revealed no record of a “Matthew Kotila” in CFPN’s system.

Exhibit B, Eddleston Declaration at pp. 1-2, ¶¶ 3, 5.

       Eddleston also attempted to verify if a “Matthew Kotila” was a licensed financial broker

or advisor. Id. at ¶. 1, ¶ 2. To do so, Eddleston searched three websites that provide information

about licensed and registered financial brokers and advisors maintained by the Financial Industry

Regulatory Authority (“FINRA”), the Securities & Exchange Commission (“SEC”), and

Institutional Shareholder Services, Inc. (“ISS”). Id. at p. 2, ¶ 4. Eddleston’s searches of those

websites, “Brokercheck” (https://brokercheck.finra.org), Investment Advisor Public Disclosure

(https://adviserinfo.sec.gov), and Discovery Data (https://discoverydata.com”), also returned

no positive current or historical results for a “Matthew Kotila.” Id. ¶ 5.

                                      Standard of Decision

       Under Rule 55, a plaintiff may request a default judgment against a defendant who “has

failed to please or otherwise defend….” An entry of default under Rule 55(a) is the first

procedural step necessary to obtain a default. Westfield Ins. Co. v. Pavex Corp., No. 17-14042, 2019

WL 851029, at * 2 (E.D. Mich. Feb. 22, 2019) (citing Shepard Claims Serv. Inc. v. Williams

Darrah & Assoc., 796 F.2d 190, 193 (6th Cir. 1986). The party must then apply to the Court for

entry of the default judgment. Fed. R. Civ. P. 55(b)(2). A default judgment may be entered by the

clerk when the plaintiff’s claim is for a sum certain or a sum which can be made certain. Fed. R.

Civ. P. 55(b)(1).




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       Default judgment is generally disfavored because there is a “strong preference for trials

on the merits.” Shepard Claims Serv., 796 F.2d at 193. According to the Sixth Circuit, “judgment

by default is a drastic step which should be resorted to in the most extreme cases.” United Coin

Meter Co., Inc. v. Seaboard Coastline RR., 705 F.2d 839, 845 (6th Cir. 1983); see also General Elec.

Capital Corp. v. MacDonald’s Indus. Products, Inc. No. 1:07-CV-502, 2008 WL 2578818 at * 1

(W.D. Mich. Jun. 26, 2008). “When considering whether to enter a default judgment, a court

should take into account: 1) possible prejudice to the plaintiff; 2) the merits of the claims; 3) the

sufficiency of the complaint; 4) the amount of money at stake; 5) possible disputed material facts;

6) whether the default was due to excusable neglect; and 7) the preference for decisions on the

merits.” Westfield, supra at * 2 (quoting Russel v. City of Farmington Hills, 34 Fed. App’x. 196,

198 (6th Cir. 2002); see also Toler v. Glob. Coll. Of Nat Med., Inc., 2016 WL 67529, at * 4 (E.D.

Mich. Jan. 6, 2016). “To avoid entering a default judgment that can be later be successfully

attacked as void under [Rule 60(b)(4)], a Court should determine whether it has jurisdiction over

the parties and the subject matter.” Id. at *5.

       Under Rule 55(b)(2)(A)-(D), a court may conduct a hearing for any of the following: to

conduct an accounting of the matter, to determine the amount of damages, to establish the truth

of any allegation or evidence, or to investigate any additional matter. Fed. R. Civ. P. 55(b)(2)(A)-

(D). Thus, under Rule 55(b), “the court has the discretion to decide whether to enter a judgment

by default” or to “hold hearings” first. Charles Alan Wright, Arther R. Miller, & Mary Kay

Kane, Feder Practice and Procedure § 2684 (4th ed. 2016).

                                             Argument




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A.      This Court does not have jurisdiction to enter a default judgment.

        “In order to render a valid judgment, a court must have jurisdiction over the subject

matter and the parties and must act in a manner consistent with due process.” Ford Motor Co. v.

Cross, 441 F. Supp. 2d 837, 846 (E.D. Mich. 2006). “Standing is, of course, a threshold

requirement for federal jurisdiction. If a party does not have standing to bring an action then the

court has no authority to hear the matter and must dismiss the case.” Vance v. Grand Rapids

Hous. Comm’n, No. 1:18-cv-1188, 2016 WL 7078496 at * 2 (W.D. Mich. Dec. 21, 2018) (quoting

Binno v. American Bar Ass’n, 826 F.3d 338, 344 (6th Cir. 2016). Therefore, this Court has a

“responsibility to determine that it has the power to enter the default judgment,” which creates a

“affirmative duty to look into its jurisdiction… over the… parties.” Buxton v. Hartin Asset

Mgmt., No. 1:22-cv-600, 2023 WL 4861724 (W.D. Mich. Jul. 31, 2023) (quoting Williams v. Life

Sav. & Loan, 802 F.2d 1200, 1203 (10th Cir. 1986)); see also In re Tuli, 172 F.3d 707, 712 (9th

Cir. 1999) (“To avoid entering a default judgment that can later be successfully attached as void,

a court should determine whether it has the power. i.e., the jurisdiction, to enter the judgment in

the first place.”).

        Here, Plaintiff does not have standing to bring a PPPA claim against CFPN because

CFPN does not sell subscriptions to Financial Advisor – it provides the publication to its

subscribers free of charge. Exhibit A at p. 1, ¶3. Absent standing to bring a PPPA claim, Plaintiff

and the Class are not entitled to a default judgment in any amount. The PPPA applies to parties

“engaged in the business of selling at retail, renting, or lending books or other written materials,

sound recordings, or video recordings” and protects “customers” against the disclosure of

“record[s] or information that personally identifies the customer as having purchased, leased,




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rented, or borrowed those materials from the [party] engaged in the business.” M.C.L. §

445.1712. The PPPA defines “customer” as “an individual who purchases, rents, or borrows a

book, other written material, a sound recording, or a video recording. M.C.L. § 445.1711

(emphasis added). Because Plaintiff did not purchase, rent, or borrow Financial Advisor from

CFPN, he is not a “customer” under the PPPA.

       Plaintiff’s lack of standing also raises issues with the Court’s definition for the Class.

Indeed, the Class definition established in the Court’s June 5, 2023 Order (ECF No. 17) would

provide relief to individuals not covered by the PPPA, as it refers to “Plaintiff [and] every other

resident of Michigan who subscribed to any of [CFPN’s] publications,” PageID.658-659, rather

than “customers” or Michigan residents who “purchased” Financial Advisor. Thus, not only

does the Plaintiff does not have standing to pursue a PPPA claim against CFPN, but the class

definition would provide a windfall to individuals the Michigan Legislature did not include within

the PPPA’s purview. The Court should exercise its broad discretion to modify the Class

definition to resolve this standing issue. See Powers v. Hamilton Cty. Pub. Def. Comm’n., 501 F.3d

592, 619 (6th Cir. 2007) (“[C]ourts must be vigilant to ensure that a certified class is properly

constituted.” “[D]istrict courts have broad discretion to modify class definitions.”) (citing

Schorsch v. Hewlett-Packard Co., 417 F.3d 748, 750 (7th Cir. 2005) (noting that “[l]itigants and

judges regularly modify class definitions”); In re Monumental Live Ins. Co., 365 F.3d 408, 414 (5th

Cir. 2004) (“District courts are permitted to limit or modify class definitions to prove the

necessary precision.”).

       In short, neither the Plaintiff nor any potential class member is entitled to a recovery

under the PPPA because none purchased, rented, or borrowed Financial Advisor. Accordingly,




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the Court should not enter a default judgment not only because it lacks subject matter

jurisdiction over Plaintiff’s PPPA claim but also because doing so would unjustly enrich the

Plaintiff and the class members. Instead, the Court should modify the class definition to reflect

the PPPA’s statutory language and conduct a hearing to determine why Plaintiff’s claim should

not be dismissed for lack of standing.

B.      Plaintiff will not be prejudiced if this Court refuses to enter the default judgment.

        Plaintiff argues that he and the Class would suffer irreparable prejudice if this Court

refuses to enter the default judgment because “Plaintiff and the other Class member have been

waiting for over a year for relief in this matter.” PageID.751. Plaintiff’s prejudice argument lacks

weight because delay alone is insufficient to establish prejudice. INVST Fin. Grp., Inc. v. Chem-

Nuclear Sys. Inc., 815 F.2d 391, 398 (6th Cir. 1987). Instead, “it must be shown that the delay will

result in loss of evidence, create increased difficulties of discovery, or provide greater

opportunity for fraud and collusion. Id., see also Dassault Systemes, SA v. Childress, 663 F.3d 834,

842 (6th Cir. 2011).

        Although the case was filed over a year ago, Plaintiff fails to address how CFPN’s delayed

participation in the case has resulted in loss of evidence, created discovery hurdles, or provided

the opportunity for fraud or collusion. Contrary to Plaintiff’s bare allegations, this Court’s refusal

to enter a default judgment will not prejudice Plaintiff because this class action litigation is still in

its relatively early stages. The class was only certified on June 5, 2023, mode of notice has not

been approved, and Plaintiff is still working to identify all members of the Class (of which none

are entitled to a recovery under the PPPA). Plaintiff has already had an opportunity to conduct

discovery to identify class members, which information is presumably still in the possession of his




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counsel, and CFPN of course has access to its subscriber database. If anything, denying the

motion will allow an opportunity to resolve the dispositive jurisdictional and class definition

questions raised above.

           Neither Plaintiff’s Complaint nor the motion contain explicit references to records,

documents, or other information showing how CFPN violated the PPPA, when statutorily-

proscribed information was shared, or what third parties had access to Plaintiffs protected private

information. Rather, the Complaint and motion rely upon conclusory allegations and articles,

Congressional letters, and news reports discussing the need to protect reader privacy. Indeed, it

is unclear if Plaintiff has any proof to support the claims against CFPN or that the Class

definition, even as modified by the Court, is appropriate given that CFPN only provides Financial

Advisor to licensed brokers and advisors who voluntarily sign-up and agree to receive marketing

information and for free. See Exhibit C, copy of Financial Advisor online subscription application

and renewal form. 2

           Likewise, there will be no increase in discovery difficulties. While the docket suggests that

Plaintiff’s counsel obtained some information from third-parties, there is no reason to believe

CFPN will not cooperate in good faith discovery. Rather, CFPN has every reason to do so given

the nature of the business, the claims made against it, the amount of damages Plaintiff seeks on

behalf of himself and the Class, and class member has standing under the PPPA.

           Finally, rejecting Plaintiff’s motion for default judgment will allow the parties and the

Court to test each side’s allegations, defenses, and other contentions so as to reach a just result

on the merits. Accordingly, this factor weighs in favor of rejecting Plaintiff’s motion for default

judgment.

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C.        CFPN has meritorious defenses.

          As stated in further detail in Defendant Motion to Set Aside the Default (ECF No. 29),

CFPN has meritorious defenses. First, as explained above, Plaintiff does not have standing to

bring the present action under the PPPA because neither he nor any member of the class is a

“customer” as defined in the statute. Because CFPN does not sell, rent, or lend Financial

Advisor to its subscribers, the subscribers are not statutorily defined “customers” of CFPN.

Therefore, Plaintiff is not entitled to the protections of the PPPA or the statutory damages

sought.

          CFPN also has a potential statute of limitations defense. To the extent Plaintiff relies on

disclosures that occurred outside the applicable statute of limitations, Kotila and other members

of the Class are barred from recovery. Notably, the Complaint alleges that CFPN violated the

version of the PPPA in effect before the 2016 amendments became effective on July 31 of that

year (see PageID.2). Plaintiff also states in footnote 1 to the Complaint that the applicable statute

of limitations period is 6 years (PageID.2), meaning that the last day to bring claims based on the

old version of the PPPA lapsed on July 31, 2022. The Complaint, however, was not filed until

August 3, 2022. Insofar as Plaintiff has argued that Michigan Supreme Court Administrative

Order 2020-3 (“AO 2020-3”), issued on March 23, 2020, tolls the statute of limitations for up to

an additional 101 days, it is important to note that question of the constitutionality of AO 2020-3

is currently pending before that court in two cases: Carter v. DTN Management Co., 511 Mich.

1025, 991 N.W.2d 586 (2023), and Armijo v. Bronson Methodist Hospital, 511 Mich. 1026, 991

N.W.2d 593 (2023). If the Supreme Court determines that it lacked the authority to extend the

limitations period, Plaintiff’s claim will be time barred.




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       Regardless of whether this action falls under the general six-year statute of limitations,

CFPN may also have a meritorious defense under the doctrine of laches. See Young v. Bradley,

142 F. 2d. 658, 662 (6th Cir. 1944) (Laches may apply irrespective of the statute of limitations).

Laches applies in situations where there is lack in diligence by plaintiff in asserting its claims,

which results in prejudice to defendant. Herman Miller, Inc. v. Palazzetti Imports and Exports, Inc.,

270 F. 3.d 298, 320 (6th Cir. 2001). To the extent Plaintiff or any other members of the class

unduly delayed in bringing claims against CFPN for the conduct described in the complaint, their

claims are barred by the equitable doctrine of latches. The foregoing defenses, as supported by

Declarations of Stroller and Eddleston (Exhibits A and B) and other evidence that may be

adduced, would require a different result once established. As such, the meritorious defense

factor weighs in CFPN’s favor.

D.     Plaintiff’s Complaint does not resolve the questions regarding standing, class
       definition, and damages.

       CFPN’s liability for violations under the PPPA is not conclusive even if all of Plaintiff’s

Complaint allegations are deemed admitted. As detailed above and in CFPN’s pending motion to

set aside the default (ECF No. 29), Plaintiff’s Complaint does not make explicit references to

records, documents, or other information showing how CFPN violated the PPPA, when

statutorily-proscribed information was shared, or what third parties had access to Plaintiffs

protected private information. The Complaint instead relies on conclusory allegations and

articles, Congressional letters, and news reports discussing the need to protect reader privacy.

Indeed, it is unclear if Plaintiff has any proof to support the claims against CFPN or that the

Class definition, even as modified by the Court, is appropriate given that CFPN only provides

Financial Advisor to licensed brokers and advisors who voluntarily sign-up and agree to receiving



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marketing information. Notwithstanding the status of those allegations being admitted, they raise

questions as to standing and jurisdiction, which is a threshold issue that this Court must evaluate

before entering a default judgment against CFPN. Moreover, because the PPPA does not apply to

mere subscribers to Financial Advisor, it cannot be said that the statutory damages sought are for

a sum certain other than zero. Accordingly, this factor weighs in CFPN’s favor.

E.     The Amount in controversy is substantial enough to put defendant out of business.

       If a default judgment were entered against CFPN for the full amount Plaintiff requests

and awarded to the class as currently defined, it would force CFPN to permanently shut down its

operations. CFPN is a small publisher with fewer than 25 employees. Over the past 5 years,

CFPN has not had total annual revenues greater than $6 million and is on track to earn

substantially less than that for 2023. If this Court were to enter a default judgment for the entire

statutory amount for each class member, the resulting judgment would exceed $17 million. Given

CFPN’s relatively modest annual revenues, it would not be able to continue operations as a going

concern if such a substantial default judgment was entered against it. The substantial sum at issue

makes this factor favor CFPN.

F.     Defendant’s failure to timely answer the Complaint was excusable.

       Defendant’s failure to answer the complaint was due to a combination of factors including

a shift in Defendant’s operations resulting from the Covid-19 pandemic and a change in physical

office locations. As detailed in CFPN’s motion to set aside the default (ECF No. 29) and

supporting reply brief (ECF No. 38), CFPN’s delay in taking action to defend this case was not

the result of culpable conduct and is therefore excusable. To be considered culpable for the

purposes of analyzing a Rule 55 motion, the defendant’s conduct in not timely responding “must

display either an intent to thwart judicial proceedings or a reckless disregard for the effect of [the]


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conduct on those proceedings.” Dassault Systemes, SA v. Childress, 663 F.3d 834, 841 (6th Cir.

2011). As shown by the Stroller Declaration, CFPN did not timely respond to the Complaint not

because of an intentional act, but rather an unfortunate oversight resulting from having no in-

office staff for over three years. Exhibit A, pp. 1-3. Although the Court may question CFPN’s

decision to not having a process in place to check for important mail and other documents, absent

reason to believe CFPN was engaging in willful conduct to impair the conduct of these

proceedings – which Plaintiff does not allege and, of course, did not happen – lack of oversight is

not sufficient, in itself, to justify denying the motion.

G.      Public policy favors CFPN being allowed to participate in its defense.

        According to the Sixth Circuit, “judgment by default is a drastic step which should be

resorted to in the most extreme cases.” United Coin Meter Co., Inc. v. Seaboard Coastline RR., 705

F.2d 839, 845 (6th Cir. 1983); see also General Elec. Capital Corp. v. MacDonald’s Indus. Products,

Inc. No. 1:07-CV-502, 2008 WL 2578818 at * 1 (W.D. Mich. Jun. 26, 2008). Public Policy does

not favor the entry of default judgments where the defendant is actively participating in the case.

Plaintiff’s only argument in support of this factor is that at the time the motion was filed, CFPN

had not answered or appeared. (PageID.753). This argument does not hold weight. As stated

above, the notice of hearing for this present motion for entry of default judgment was the first

notice that confirmed CFPN’s understanding that it had been sued. From the time it received

notice of this motion, on August 21, 2023, CFPN has been actively participating in its defense,

including seeking Plaintiff’s stipulation to set aside the default, filing a motion to set aside the

default, and defending the present motion for default judgment. Absent substantial prejudice to

Plaintiff or culpable conduct by CFPN, the policy of hearing claims on the merits weighs in favor




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of allowing the claims to go forward. See INVST Financial Group, 815 F. 2d at 398-99.

       Because there will not be substantial prejudice to Plaintiff and because the delay in

responding was not due to CFPN’s culpable conduct, this factor favors denying Plaintiff’s

request for default judgment and allowing CFPN to defend Plaintiff’s claims on their merits.

                                          Conclusion

       Each of the seven factors to be examined when considering whether to enter a default

judgment under Rule 55(b) favor denying Plaintiff’s motion. Beyond a mere delay in the

proceedings, Plaintiff and the Class will not be prejudiced in any meaningful way. CFPN has

meritorious defenses to the claims, and its delay in responding was not due to a willful or

intentional act to frustrate these proceeding. Accordingly, and because resolution of disputes on

the merits are favored, this Court should deny Plaintiff’s Motion for Default Judgment. CFPN

does not object to the notice procedure described in the motion.



                                                    Respectfully submitted,

                                                    BROOKS WILKINS
                                                    SHARKEY & TURCO PLLC

                                                    By:    /s/T.L. Summerville
                                                    T.L. Summerville (P63445)
                                                    Attorneys for Defendant Charter Financial
                                                    Publishing Network, Inc.
                                                    401 S. Old Woodward Avenue, Suite 400
                                                    Birmingham, MI 48009
                                                    (248) 971-1719
                                                    summerville@bwst-law.com

Date: December 4, 2023




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               CERTIFICATE OF COMPLIANCE-LOCAL RULE 7.3(B)(II)

        I hereby certify that the foregoing Brief contains 4,824 words, as calculated using the
Word feature in Microsoft Word and exclusive of any words in the case caption, cover sheet,
tables of content or authority, signature block, attachments, exhibits, affidavits, or other addenda.

                                                          /s/ T.L. Summerville
                                                          T.L. Summerville


                                 CERTIFICATE OF SERVICE

         I hereby certify that, on December 4, 2023, I electronically filed the foregoing document
with the Clerk of the Court using the electronic filing system which will send notification of such
filing to all counsel of record.

                                                          /s/ T.L. Summerville
                                                          T.L. Summerville




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                       Exhibit A
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                        Exhibit 1
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                       Exhibit B
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                              UNITED STATES DISTRICT COURT

                          FOR THE WESTERN DISTRICT OF MICHIGAN

  MATTHEW KOTILA, individually and
  on behalf of all others similarly situated,            Case No. 1:22-cv-00704

             Plaintiff,                                  District Judge Hala Y. Jarbou

  v.                                                     Magistrate Judge Ray S. Kent

  CHARTER FINANCIAL PUBLISHING
  NETWORK, INC.,

             Defendant.

          DECLARATION OF CHRISTIAN EDDLESTON IN SUPPORT OF
       DEFENDANT CHARTER FINANCIAL PUBLISHING NETWORK, INC.’S
       MOTION TO SET ASIDE DEFAULT PURSUANT TO FED. R. CIV. P. 55(C)

        Christian Eddleston states as follos for his Declaration in support of Defendant Charter

Financial Publishing Network, Inc.’s (“CFPN”) Motion to Set Aside Default Pursuant to Fed.

R. Civ. P. 55(c) (“Motion to Set Aside Default”):

        1.         I am employed by CFPN as its Head of Technology and make this Declaration in

support of its Motion to Set Aside Default in that capacity based upon my personal knowledge

and review of company records, except with respect to matters stated upon information and

belief, which I believe to be true.

        2.         In September 2023, at the request of Charles L. Stroller, CFPN’s CEO and CFO,

I searched CFPN’s internal subscriber database records to determine whether the named

plaintiff in this action, Matthew Kotila, was or had been a subscriber to Financial Advisor, a

monthly, print magazine published by CFPN.

        3.         The results of my search revealed no record for the name “Matthew Kotila”
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within the database, which includes the names of individuals who had a subscription, whether

active or lapsed, at any time over the last 7 years.

        4.      Because CFPN only provides copies of Financial Advisor magazine to licensed

financial brokers or advisors, I also searched three databases recognized in the financial industry

that provide information about licensed financial brokers and advisors: the Investment Advisor

Public Disclosure website, https://adviserinfo.sec.gov, which is maintained by the Securities and

Exchange Commission (“SEC”); “Brokercheck” (https://brokercheck.finra.org), which is

maintained by the Financial Industry Regulatory Authority (“FINRA”); and Discovery Data

(https://discoverydata.com”), which is maintained by Institutional Shareholder Services, Inc.

        5.      My searches of the foregoing websites, which upon information and belief include

records for every U.S. state and territory, revealed no positive current or historical results for the

name “Matthew Kotila.”

        6.      I declare under penalty of perjury that the foregoing statements are true and

correct.

        FURTHER DECLARANT SAYETH NOT.




                                                           Chrisitan Eddleston

Date: September 21, 2023




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                       Exhibit C
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